 Case 2:21-cv-04405-RGK-MAR Document 142 Filed 10/26/22 Page 1 of 2 Page ID #:6185




 1                                                                                          JS6
 2
                               UNITED STATES DISTRICT COURT
 3
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
 4
                                      WESTERN DIVISION
 5
   PAUL SNITKO, JENNIFER SNITKO,                    Case No. 2:21-cv-04405-RGK-MAR
 6 JOSEPH RUIZ, TYLER GOTHIER,
   JENI VERDON-PEARSONS,                            JUDGMENT IN FAVOR OF
 7 MICHAEL STORC, and TRAVIS                        DEFENDANTS [140] [141]
   MAY,
 8
                Plaintiffs,
 9
                       v.
10
   UNITED STATES OF AMERICA.
11 TRACY L. WILKISON, in her official
   capacity as Acting United States
12 Attorney for the Central District of
   California, and KRISTI KOONS
13 JOHNSON, in her official capacity as an
   Assistant Director of the Federal Bureau
14 of Investigation,
15               Defendants.
16
17
           In accordance with the Court’s Order re Court trial filed September 29, 2022
18
     (Docket No. 140),
19
           IT IS HEREBY ORDERED, ADJUDGED and DECREED that final judgement is
20
     hereby entered in favor of Defendants United States of America, Tracy L. Wilkison, in
21
     her official capacity as Acting United States Attorney for the Central District of
22
     California, and Kristi Koons Johnson, in her official capacity as an Assistant Director of
23
     the Federal Bureau of Investigation, and against Plaintiffs Paul Snitko, Jennifer Snitko,
24
     Joseph Ruiz, Tyler Gothier, Jeni Verdon-Pearsons, Michael Storc, and Travis May.
25
26
     Dated: 10/26/2022                                                    _
27                                          THE HONORABLE R. GARY KLAUSNER
28                                          UNITED STATES DISTRICT JUDGE
 Case 2:21-cv-04405-RGK-MAR Document 142 Filed 10/26/22 Page 2 of 2 Page ID #:6186




1    Presented By:
2    E. MARTIN ESTRADA
     United States Attorney
3    SCOTT M. GARRINGER
     Assistant United States Attorney
4    Chief, Criminal Division
5
           /s/
6    ANDREW BROWN
     VICTOR A. RODGERS
7    MAXWELL COLL
     Assistant United States Attorneys
8
9    Attorneys for Defendants
     UNITED STATES OF AMERICA, et al.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                           2
